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IN THE UNITED STATES DISTRICT COURT 1r; .1 ;_1 __ q 1,);1_1 ,J_ 1_ 1_
FOR THE WESTERN DISTRICT OF TENNESSEE ' ‘ F" "
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UNITED STA'I`ES OF AMERICA,

Plaintiff,
VS. No. 02-20333
TORRICK LYLES,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE SENTENCING

 

This cause came on upon the motion of the Defendant to continue the sentencing hearing

set on May ll, 2005 at 1:3() p.m. For good cause shown, the Court hereby grants the

Defendant’s motion. The sentencing is hereby reset for the l['H'\ day of \.]M ,
2005 at 1160 a.md@

IT ls so oRDERED this cf day efMay, 2005.

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J. DANIEL BREEN \
UNITEI) sTATES DISTRICT JUDGE

 

   

UNITED `SETATS DISTRICT COURT - WESTRNE D'S'TRCT oFTENNESSEE

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Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

